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                                                                        FILED
                                                                     U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF TEXAS

                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS MAY 0 2 2018
                              BEAUMONT DIVISION

UNITED STATES OF AMERICA §                                      BY
                                                                DEPUTY
                                        §
v.                         §                    CRIMINAL NO. 1:18-CR-
                                        §
PATRICK WAYNE BRONNON (1) §                           Cnmf - AiijiiH
GLENN DELL ETIENNE (2) §
GERALDINE WELDON JOSEPH (3) §
MORRIS BROUSSARD §                               4:18mj0927
       aka      Bruiser         (4) §
                                                                           United States Courts
KEISHA WINDON LEWIS (5) §                                                Southern District of Texas
HELENE WILLIAMS CALCOTE (6) §                                                     FILED
CY THIA LYNN BANION (7) §                                                     June 11, 2018
EARNEST HAMILTON (8) §                                                                
NATHANIEL JOSEPH CHEVALIER (9) §                                      David J. Bradley, Clerk of Court
KENDRA CHEVALIER (10). §
RODRIC LEDAE WALLACE (11) §
RILEY MOSS REED (12) §

                                  INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:

                                    Count One

                                                     Violation: 18U.S.C. § 1349
                                                     (Conspiracy to Commit Mail
                                                     Fraud)

                                  The Conspiracy


      Beginning on or about December, 2011, and continuing until on or about May 25,

2017, Patrick Wayne Bronnon (Bronnon), Glenn Dell Etienne (Etienne), Geraldine

Weldon Joseph (Joseph), Morris Broussard, aka Bruiser (Broussard), Keisha


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 Windon Lewis (Le is), Helene Williams Calcote (Calcote), Cynthia Lynn Banion

 (Banion), Earnest Hamilton (Hamilton), Nathaniel Joseph Chevalier (N. Chevalier),

 Kendra Chevalier (K. Chevalier), Rodric Ledae Wallace (Wallace), and Riley Moss

Reed (Reed), defendants, did knowingly and intentionally combine, conspire,

 confederate, and agree with each other, and with other persons, both known and unknown


 to the Grand Jury, to commit Mail Fraud, that is, to de ise a scheme and artifice to

 defraud, and to obtain money and property by means of materially false and fraudulent

pretenses, representations, and promises, and for the purpose of executing such scheme

 and artifice, place in an authorized depository for mail matter any matter or thing to be

 sent or delivered by the Postal Service, take or receive from an authorized depository for

 mail matter any matter or thing, and knowingly cause to be delivered by mail or by any

 private or commercial interstate carrier any matter or thing, according to the direction

 thereon or at the place at which it is directed to be delivered by the person to whom it is

 addressed, in violation of 18 U.S.C. § 1341.

                                 Object of the Conspiracy


         It was the object of the conspiracy to obtain money and funds from various

 insurance providers through fraudulent insurance claims, including claims for fire

 casualty, water damage, and theft, in the Port Arthur, Texas and greater Southeast Texas

 area.



                          Manner and Means of the Conspiracy
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       Defendants Bronnon and Etienne approached several individuals about

purchasing a home and insurance in their names. Bronnon or Etienne would select the


home, and sometimes provide the policy owners with funds for the down payment and

the initial insurance payment. Within a few weeks of the insurance becoming effective,

Bronnon, Etienne or one of the policy owners would intentionally cause damage to the

home, typically through fire or water damage. The policy owner would then initiate the

claims process, knowing that the damage was intentional, causing a fraudulent claim to

be filed. The insurance policies included the cost to replace the structure, the contents of

the home, and emergency living expenses.

    1. The homes were generally low value properties, with purchase prices as low as

 $25,000. However, the insurance policies purchased by the defendants covered the cost

to replace the home with a new, up-to-code structure, and as such, the cost of replacement


was significantly higher than the purchase price of the home.

    2. In addition to the cost of replacement of the structure, the insurance policies

 covered the contents of the home. In order to make a claim for the contents of the home,


 the insured homeowner must make a detailed list of all personal items damaged in the fire

 or other event underlying the insurance claim, such as furniture, clothes, kitchen supplies,

 electronics and personal effects. The list must also include an estimated value of the

 damaged items.




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    3. The insurance policies purchased by the defendants also covered Additional

Living Expenses (ALE). Additional Living Expense coverage provides compensation to

the insured when they are unable to live in their own home due to an insured loss or claim

and while the home is being repaired. ALE provides the insured money to allow them to

maintain their usual lifestyle, and compensate for the additional costs of living elsewhere

when the home is destroyed or uninhabitable until it is repaired, or until the ALE policy

limits are reached.

    4. In addition to claim for loss of the property itself, Bronnon and other co¬

 defendants filed fraudulent claims for burglaries that never occurred.

    5. The following acts were committed by the following defendants in furtherance of

 the conspiracy:

        a. On or about December 1, 2011, Bronnon intentionally caused water


 damage to the home of Joseph at 4300 4th Street, Port Arthur, Texas.

        b. On or about December 2, 2011 Joseph told Allstate Insurance Company

 (Allstate) that her home at 4300 4th Street, Port Arthur, Texas flooded due to a burst pipe,

 when she knew that Bronnon intentionally caused the water damage for the purpose of

 filing a fraudulent insurance claim.

        c. On or about January 11, 2013, Bronnon and Broussard went to Joseph s

 home at 4300 4th Street, Port Arthur, Texas and intentionally started a fire in the home.




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        d. On or about Jan ary 12, 2013, Joseph told Allstate that she was at 4300 4th

 Street, Port Arthur, Texas frying pork chops, started having chest pains, and left the home

 to go to the hospital, forgetting about the pork chops, which ultimately caused the fire,

 and which Joseph knew to be untrue.

        e. On or about May 20, 2013, Joseph reported to Allstate that while 4300 4th

 Street, Port Arthur, Texas was being repaired from the previous fire, thieves stole a

 number of items from the home, totaling approximately $29,437.71. However, as Joseph

 was aware at the time she filed the claim, no theft took place and no property was stolen.

        f. On or about October 28, 2014, Bronnon intentionally caused a fire in

 Joseph s home at 4300 4th Street, Port Arthur, Texas.

        g. On or about October 28, 2014, Joseph contacted Allstate to file a claim for

 4300 4th Street, Port Arthur, Texas, and claimed that she was unaware of how the fire

 began, which she knew at the time to be untrue.

        h. On April 15, 2013, Broussard secured insurance through American

 Hallmark Insurance Company of Texas (Hallmark) for 13118 Worthington Street,

 Sugarland, Texas for the purpose of committing fraud.

        i. On or about April 22, 2013, Broussard called Hallmark and claimed that

 13118 Worthington Street, Sugarland, Texas burned down as a result of the co-defendant

 Banion leaving a foil wrapped chicken in the microwave, and then leaving the home,

 which he knew to be untrue.


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        j. On or about October 3, 2014, Calcote and Bronnon signed a document

 titled Sworn Statement in Proof of Loss. In the “Sworn Statement in Proof of Loss,”

 Bronnon and Calcote stated that at least $80,000 worth of property was stolen from

 13118 Worthington Street, Sugarland, Texas, which they both knew to be untrue.

        k. On or about March 3, 2015 Banion claimed to sign a contract for sale of

 13118 Worthington Street, Sugarland, Texas with Bronnon, who then transferred title to

 the home to her.

        l. On March 4, 2015, Banion purchased homeowners insurance for 13118

 Worthington Street, Sugarland, Texas from GeoYera Specialty Insurance Company

 (GeoVera).

        m. On or about March 11, 2015, Banion called GeoVera and told them that

 she went to the house that day to find that a pipe burst in the celling and as a result, the

 house was flooded and that the flooding was accidental.

        n. Sometime just prior to on or about March 11, 2016, Etienne approached N.

 Chevalier about purchasing the home at 1049 Nederland Ave., Port Arthur, Texas.

        o. On or about March 11, 2016, N. Chevalier purchased 1049 Nederland

 Ave., Port Arthur, Texas for the purpose of filing a fraudulent insurance claim.


        p. Sometime just prior to March 11,2016, Etienne pro ided N. Chevalier

 $5,000 to use as a down payment for 1049 Nederland Ave., Port Arthur, Texas to further

 the scheme to defraud Farmers Insurance Group (Farmers).


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        q. On or about March 24, 2016, Bronnon intentionally set a fire at 1049

 Nederland Ave., Port Art ur, Texas, causing significant damage.

        r. Sometime between March 24, 2016 and May 20, 2016, Etienne provided

 N. Chevalier and K. Chevalier a list of contents for 1049 Nederland Ave., Port Arthur,

 Texas to submit to Farmers as part of their insurance claim, knowing those items were


 not in their home.

        s. On or about May 20, 2016, N. Chevalier and K. Chevalier submitted a list

 of contents for 1049 Nederland Ave., Port Arthur, Texas to Farmers that they claimed

 were lost in the fire, when they knew that list to be fraudulent.

        t. On or about May 20, 2016, N. Chevalier and K. Chevalier signed a Proof

 of Loss for 1049 Nederland Ave., Port Arthur, Texas, in which they attested that the fire

  did not originate or continue by any act, design, procurement, or willful neglect on the

 part of the insured, which they knew to be false.

        u. On or about March 24, 2012, Hamilton purchased the home at 824

 Richmond, Port Arthur, Texas for the purpose of filing a fraudulent insurance claim.

        v. On or about March 31, 2012, Bronnon intentionally burned 824 Richmond,

 Port Arthur, Texas down in order to collect insurance proceeds.


        w. On or about April 1, 2012, Hamilton instructed Reed to sign a letter stating

 that the fire at 824 Richmond, Port Arthur, Texas was caused by Reed s generator, when

 Hamilton knew that the fire was intentionally started.


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       X.      On or about October 3, 2015, Etienne purchased the home at 1010 9th

 Street, Port Arthur, Texas for the purpose of filing a fraudulent insurance claim.

       y. On or about October 6, 2015, Etienne purchased home owners insurance

 for 1010 9th Street, Port Arthur, Texas from Progressive Insurance (Progressive).

        z. On or about October 17, 2015, Bronnon intentionally started the fire at

 1010 9th Street, Port Arthur, Texas in order to collect insurance proceeds.

        aa. On or about October 17, 2015, Le is told Port Arthur Fire Department

 (PAFD) that she was cooking chicken on a hotplate, which may have caused the fire at

 1010 9th Street, Port Arthur, Texas, when, in fact, she knew that the fire was actually

 intentionally started by Bronnon.

        bb. On or about February 12, 2014, Calcote purchased the home at 4675

 Beaumont Drive, Beaumont, Texas for the pui ose of burning it down in order to collect


 insurance proceeds.

        cc. On or about February 12, 2014, Calcote purchased home owners insurance


 for 4675 Beaumont Drive, Beaumont, Texas from Farmers.

        dd. On or about March 16, 2014, Calcote contacted Farmers to report a fire at

 4675 Beaumont Drive, Beaumont, Texas.

        ee. Sometime between March 16, 2014 and April 28, 2014, Calcote submitted

 a fraudulent list of items for 4675 Beaumont Drive, Beaumont, Texas she claimed were

 lost or damaged in the fire.


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        ff. On or about May 16, 2016, Bronnon purchased the home at 4601 Sunken

 Court, Port Arthur, Texas, for the purpose of filing a fraudulent insurance claim.

        gg. On or about May 16, 2016, Bronnon purchased home owners insurance for


 4601 Sunken Court, Port Arthur, Texas from Farmers.

        hh. On or about May 19, 2016, Bronnon called Farmers and reported that a

 faucet at 4601 Sunken Court, Port Arthur, Texas was inadvertently left in the open

 position when the city began water service, causing the home to flood, when, in fact, he

 was aware that the home was intentionally flooded.

        ii. On or about June 23, 2016, Bronnon signed a Proof of Loss form for 4601

 Sunken Court, Port Arthur, Texas, in which he stated that the damage did not originate

 or continue by any act, design, procurement, or willful neglect on the part of the insured,

 when he knew to be untrue.

       jj. Le is purchased the home at 2722 Flampton Court, Port Neches, Texas and

 purchased home owners insurance through Allstate, for the purpose of filing a fraudulent

 insurance claim.

        kk. On or about June 3, 2016, Bronnon provided Lewis $3,000 to make the

 down payment for 2722 Flampton Court, Port Neches, Texas.

        11. On or about June 13, 2016, Lewis contacted Allstate and filed a claim for

 2722 Flampton Court, Port Neches, Texas, knowing that the fire was intentionally started.




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         mm. On or about June 13, 2016, Bronnon intentionally started a fire at 2722

  Hampton Court, Port Neches, Te as.


         nn. On or about October 5, 2016, Wallace purchased the home at 4690 Dallas

  Street, Beaumont, Texas.


         oo. On or about October 4, 2016, Wallace purchased home owners insurance

  for 4690 Dallas Street, Beaumont, Texas through Wellington Insurance Group for the

  purpose of filing a fraudulent insurance claim.

         pp. On or about December 16, 2016, Wallace signed a Proof of Loss

  regarding the fire at 4690 Dallas Street, Beaumont, Texas, knowing it to be untrue when

  he signed it.

         qq. On or about November 21, 2016, Wallace made false statements in an

  Examination Under Oath regarding the insurance claim for 4690 Dallas Street,

  Beaumont, Texas.


         rr. On or about October 14, 2016, Bronnon and Etienne intentionally caused

  a fire t 4690 Dallas Street, Beaumont, Texas for the purpose of filing a fraudulent

  insurance claim.


         ss. On March 2, 2016, Lewis told Pronto Insurance (Pronto) that she was

  driving a 2008 H2 Hummer, which was struck by a vehicle driven by Reed, causing the

 H2 Hummer to veer off the road and into a sign, when, in fact the H2 Hummer was

 intentionally driven into the sign.


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        tt. On March 2, 2016 Lewis told Pronto t at she was driving the H2 Hummer

 when it collided with Reed s vehicle, when, in fact Bronnon was the driver.

        uu. On or about March 2, 2016, Reed and Bronnon intentionally collided their

 vehicles in order to give the appearance to an insurance adjuster that the vehicles were in

  a collision with one another.


        All in violation of 18 U.S.C. § 1349.

                                  Counts Two through Eleven

                                                         Violation: 18 U.S.C. § 1341 (Mail
                                                         Fraud)

         Counts Two through Eleven incorporates by reference the Scheme, Object, and

  Manner and Means described in Count One of the Indictment.

                                         The Scheme

                              4300 4th Street. Port Arthur. Texas

        Flood Claim

  1. Defendant Joseph and her late husband purchased the home at 4300 4th Street,

  Port Arthur, Texas. Joseph and Bronnon are cousins.


  2. In 2011, Bronnon, who owned a construction and remodeling business,


  approached Joseph regarding a way in which she could remodel her home without

  having to pay for it herself. Bronnon instructed her to spend the night a friend s house

  when he told her to do so, and to act surprised when she came home to find her home

  damaged by water. On or about the evening of December 1, 2011, Bronnon called

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  Joseph and instructed her to go to her friend s house for the night, which she did. When

  she returned to the home on December 2, 2011, she found that her home had sustained

  significant water damage, and she filed an insurance claim with Allstate Insurance

  Company (Allstate) the same day, as instructed by Bronnon. Joseph told Allstate that a

 pipe burst above one of the bedrooms, causing the home to flood.

  3. Allstate mailed Joseph ten checks for this fraudulent claim between December 7,

  2011 and April 23, 2012, for a total of $175,633. Joseph deposited these checks in her

 personal bank account and shared the proceeds with Bronnon. Bronnon was the

 contractor of record for repairs to the home that were needed as a result of the water

  damage.


        Fire Claim #1

 4. Joseph was dissatisfied with the work Bronnon did on her home after the

 intentional flooding in 2011, so she and Bronnon decided to intentionally bum her home

 for the insurance proceeds. Bronnon instructed Joseph to tell Allstate that she was

 cooking pork chops on the stove, which started a grease fire. On or about January 11,

 2013, Bronnon and co-defendant Broussard came over to Joseph s residence and told


 Joseph to wait in her room. While she was in her room, Bronnon and Broussard


 intentionally started a fire in the home. Joseph heard Bronnon and Broussard leave the

 residence, and she waited for the fire to become large enough to do significant damage,

 and then left. Joseph’s neighbor woke up around 1:30 a.m. to the smell of smoke and her


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  smoke detectors alarming. The neig bor looked outside and saw Joseph s home on fire

  and called the fire department. The Port Arthur Fire Department arrived shortly

  thereafter and extinguished the fire. Joseph told the fire department that the fire began

  when she was cooking, as instructed by Bronnon, which she knew to be false.

  5. The next day, January 12, 2013, Joseph and Bronnon called Allstate to report the

  fire. Joseph told Allstate that she was frying pork chops and started getting chest pains,

  at which point she left the house and went to the emergency room. She further reported

  to Allstate that while she was at the hospital, her neighbor called her to tell her that her

  house was on fire. Shortly after initiating the claim, Joseph referred Allstate to Bronnon

  for all further communication.

  6. Allstate mailed Joseph twenty-one checks for this claim between January 14,

  2013 and June 20, 2013, totaling $248,123. Joseph deposited these checks in her

  personal bank account and shared the proceeds with Bronnon. Bronnon was the

  contractor of record for the repairs to the home for damage resulting from the fire.

         Theft Claims

  7. Joseph’s insurance policy covered personal property lost as a result of theft or

  burglary. Joseph, at Bronnon’s direction, made two claims, on May 13, 2013 and May

  20, 2013, to Allstate that her house was burglarized during the restoration process, and

  fu iture, construction materials, tools, an air conditioner unit, appliances, cabinets and


  personal items were stolen. However, as Joseph was aware, no theft took place and no


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  property was stolen. As a result of the false claims, on June 12, 2013, Joseph was mailed

  two reimbursement checks for $16,974.23 and $3,613.48, and another check on July 19,

  2013 for $8,850.00.

         Fire Claim #2

  8. Joseph was again dissatisfied with the work done on her home after the previous

  insurance claim, as she was having roofing problems and other repairs that needed to be

  made. Sometime around October, 2014, Joseph saw Bronnon at a funeral and e pressed

  to him her issues with the home, at which time Joseph and Bronnon devised a scheme to

  intentionally start another fire and collect insurance proceeds.

  9. On or about October 28, 2014, Bronnon came to Joseph s home around midnight.

  As with the first fire, Joseph stayed in the bedroom while Bronnon started the fire.

  Joseph waited until the fire was sufficiently burning, and then left the home, went to a

  neighbor s house and called the Port Arthur Fire Department. Prior to the fire, Joseph

  and Bronnon removed certain items from the home, such as pictures and clothes, so they


  would not be damaged.


  10. On October 28, 2014, Allstate contacted Joseph regarding the fire. Joseph told

  Allstate that she was asleep in her bed and woke up to the smell of smoke and heard glass

  breaking. Joseph stated that she left the house immediately and called 9-1-1, but did not

  know what caused the fire.




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  11. Joseph was mailed five chec s between October 29, 2014 and September 10,

  2015 as a result of this fraudulent claim. In total on this claim, she was paid

  approximately $182,847.55.

               On or about the following dates, in the Eastern District of Te as and elsewhere,

  Geraldine Weldon Joseph and Patrick Wayne Bronnon, defendants, with the intent to

  defraud, devised the above-described scheme and artifice to defraud and obtain money by

  materially false and fraudulent pretenses, representations, and promises for the purpose of

  executing or attempting to execute the above-described scheme and artifice to defraud

  and deprive, the defendants knowingly caused to be placed in an authorized depository

  for mail, to be sent and delivered by United States Postal Service or a private or

  commercial interstate mail carrier, according to the direction thereon or at the place at

  which it is directed to be delivered by the person to whom it is addressed, the following

  matters:


   Count Defendant(s)                          Date of       item        Insurance   Insured Property
                                               Mailing       Mailed      Company
                                               (on or
       ¦                                       about)
           ¦ :;-'v   Geraldine Weldon Joseph   May 17, ii Check for      Allstate    4300 4th Street,
                     Patrick Wayne Bronnon     2013     1 $4,500                     Port Arthur,
                     Morris Broussard                                                Texas
   3                 Geraldine Weldon Joseph   May 21,       Check for   Allstate    4300 4th Street,
                     Patrick Wayne Bronnon     2013          $2,100                  Port Arthur,
                     Morris Broussard                                                Texas
   4 ¦               Ge aldine Weldon Joseph   June 20,      Check for   Allstate    4300 4th Street,
                     Patrick Wayne Bronnon     2013          $150                    Port Arthur,
                     Morris Broussard                                                Texas


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  5         Geraldine Weldon Joseph    June 12,       Check for     Allstate    4300 4th Street,
            Patrick Wayne Bronnon      2013           $16,974.23                Port Arthur,
            Morris Broussard                                                    Texas
  6         Geraldine Weldon Joseph    June 12,       Check for     Allstate    4300 4th Street,
            Patrick Wayne Bronnon      2013           $3,613.48                 Port Arthur,
            Morris Broussard                                                    Texas
  7         Geraldine Weldon Joseph    October        Check for     Allstate    4300 4th Street,
            Patrick Wayne Bronnon      29, 2014       $1,500                    Port Arthur,
                                                                                Texas
  8         Geraldine Weldon Joseph    November       Check for     Allstate     4300 4th Street,
            Patrick Wayne Bronnon      13,2014        $2,500                     Port Arthur,
                                                                                 Texas
   9        Geraldine Weldon Joseph    December       Check for     Allstate     4300 4th Street,
            Patrick Wayne Bronnon      16,2014        $850                       Port Arthur,
                                                                                 Texas
   10       Geraldine Weldon Joseph    June 24,       Check for     Allstate     4300 4th Street,
            Patrick Wayne Bronnon      2015           $138,502.87                Port Arthur,
                                                                                 Texas
   11       Geraldine Weldon Joseph    September      Check for     Allstate     4300 4th Street,
            Patrick Wayne Bronnon       10,2015       $39,494.68                 Port Arthur,
                                                                                 Texas



         All in violation of 18 U.S.C. § 1341.

                             Counts Twelve through Fourteen

                                                             Violation: 18 U.S.C. § 1341 (Mail
                                                             Fraud)

          Counts Twelve through Fourteen incorporates by reference the Scheme, Object,

  and Manner and Means described in Count One of the Indictment.

                                         The Scheme

                         13118 Worthington Street. Sugarland. Texas

       Fire Claim #1

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      1. The home at 13188 Worthington Street, Sugarland, Texas, was purchased by

  Response Reliable Resource Emergency Response Team, Inc., owned by co-defendant

  Broussard and Bronnon. On April 15, 2013, Broussard secured insurance through

  American Hallmark Insurance Company of Texas (Hallmark). The policy went into

  effect on April 17, 2013.

     2. On or about April 22, 2013, Broussard called Hallmark to report that the home

  caught on fire and sustained significant damage. Broussard reported to Hallmark that he

  purchased the home with the intent of remodeling it, but was not living there at the time

  of the fire. Broussard claimed that he hired co-defendant Banion to clean the home and

  that she was preparing chicken to eat for lunch by wrapping it in tinfoil and placing it in

  the microwave to cook, and then left to go to the store. Broussard said that when she

  retu ed to the home it was on fire, and she called the fire department, who responded

  and put out the fire.* Broussard then hired Reliable Solutions, which was owned by

  Broussard and Bronnon, to repair the home after the fire.

     3. Hallmark mailed Broussard five checks between June 12, 2013 and July 1, 2014,

  totaling approximately $52,260.

     Burglary Claim

     4. After the fire, Bronnon purchased the home from Broussard and insured it

  through Allstate. His Allstate policy provided coverage for property lost as a result of

  theft.


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     5. On August 2, 2014, Bronnon called the Sugarland Police Department to report a

  burglary at the home. Bronnon reported that while he was not home, someone entered

  his home through the garage and stole numerous items from his home, including high-end

  clothes and electronics. Bronnon made a claim to Allstate for reimbursement, which

  included a list of items Bronnon claimed were stolen from the home. The list of

  allegedly stolen items was hand-written, signed and provided to Allstate by Bronnon s

  girlfriend, co-defendant Calcote. On or about October 3, 2014, Calcote and Bronnon

  signed a document titled Sworn Statement in Proof of Loss. In the Sworn Statement in

  Proof of Loss, Bronnon and Calcote stated that at least $80,000 worth of property was

  stolen from the home, which they both knew to be untrue. Many of the items listed by

  Bronnon were the same items listed on the Chevalier s inventory from their fire at 1049

  Nederland Avenue, Port Arthur, Texas and by another later claim by Calcote at 4675

  Beaumont Drive, Beaumont, Te as.

     6. Allstate hired an investigator to determine the veracity of Bronnon’s claim, and

  the investigator found very little evidence to support it. Bronnon refused to cooperate

  with Allstate s investigation and the claim was ultimately denied.

     Water Damage Claim

     7. On or about March 3, 2015, Banion - the same person who supposedly placed a

  foil-wrapped chicken in the microwave, causing the fire in April, 2013 claimed to sign

  a contract for sale of the home with Bronnon, who then transferred title to the home to


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 her. Banion claimed she gave Bronno $15,000 in cash as a down payment and then

 paid $1,259 a month in payments, all of which she claims were in cash, as well. On

 March 4, 2015, Banion purchased homeowners insurance from GeoVera Specialty

 Insurance Company (GeoVera). The policy covered loss from water damage, with a

  coverage limits of $193,000 for the structure, $96,500 for personal property, and $38,600

 for ALE.

     8. On or about March 11, 2015, Banion called GeoVera and told them that she went

 to the house that day to find that a pipe burst in the celling and as a result, the house was

  flooded. Banion filed a claim to repair the damage, as well as a claim for reimbursement

  for personal property. Banion told GeoVera that she hired E-Solutions, owned by co¬

  defendant Etienne, to do emergency work, to stop the leak and attempt to dry the home

  out. Ultimately, GoVera hired ServPro to complete the mitigation work started by E-

  Solutions. Banion then hired Reliable Resources, owned by Bronnon and Broussard, to


 repair the home.

     9. Between March 13, 2015 and September 22, 2015, GoVera mailed thirteen checks

  to Banion, or others on her behalf, for damage caused by the water and for ALE, totaling

  approximately $80,324.

     On or about the following dates, in the Eastern District of Texas and elsewhere,

  Morris Broussard, aka Bruiser , Patrick Wayne Bronnon, and Cynthia Lynn

  Banion, defendants, with the intent to defraud, devised the above-described scheme and


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  artifice to defraud and obtain money by materially false and fraudulent pretenses,

  representations, and promises for the purpose of executing or attempting to execute the

  above-described scheme and artifice to defraud and deprive, the defendants knowingly

  caused to be placed in an authorized depository for mail, to be sent and delivered by

  United States Postal Service or a private or commercial interstate mail carrier, according

  to the direction thereon or at the place at which it is directed to be delivered by the person

  to whom it is addressed, the following matters:

   Cou t Defendaiit(s)                   Date of       Item               Insurance   Insured Property
                                         Mailing       Mailed             Company
                                         (on or
                                         about)
                                    ' June 12,
   12      i Morris Brouss rd j                        Check for i Hallmark           13118
             Patrick Wayne Bronnon i 2013              $2,397.28                      Worthington
           ! Cynthia Lynn Banion                                                      Street, Sugarland,
                                                                                      Texas
   13       Morris Broussard             June 12,      Check for          Hallmark    13118
            Patrick Wayne Bronnon        2013          $18,130.91                     Worthington
            Cynthia Lynn Banion                                                       Street, Sugarland,
                                                                                      Texas
   14 f;. I Morris Broussard j July 12, | Check for                       Hallmark    13118
            Patrick Wayne Bronnon        2013          $11,386.35 !                   Worthington
            Cynthia Lynn Banion                                                       Street, Sugarland,
                                                                      .
                                                                                      Texas



                              Counts Fifteen through Seventeen

                                                              Violation: 18 U.S.C. § 1341 (Mail
                                                              Fraud)

         Counts Fifteen through Seventeen incorporates by reference the Scheme, Object,

  and Manner and Means described in Count One of the Indictment.
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                                         The Scheme

                           4675 Beaumont Drive, Beaumont, Texas


     1. On or about February 12, 2014 Bronnon s girlfriend, co-defendant Calcote,

  purchased the home at 4675 Beaumont, Drive, Beaumont, Texas for $81,000. On or

  about February 12, 2014, Calcote insured the home through Texas Farmers Insurance

  Company (Farmers). The policy included $150,000 coverage for the structure, $113,000

  for personal property, $60,000 for loss of use and $37,500 for Extended Replacement

  Cost.


     2. On or about March 16, 2014 Calcote contacted Farmers and reported a fire at the

  residence. She said that she came home and the Beaumont Fire Department (BFD) was

  already on scene. Calcote told Farmers that she was unsure of how the fire started, but


  believed from speaking with BFD that it started in the breaker box, and as a result, the

  home was destroyed, along with all of the contents.

     3. On or about April 12, 2014, Calcote signed a 6 month lease for temporary housing

  to live at 13118 Worthington Street, Sugarland, Texas, which was owned by Bronnon s

  company, Reliable Resource.

     4. Calcote made a claim for reimbursement for personal property lost in the fire and

  submitted an itemized list of damaged or destroyed property. The list she submitted

  included a large number of the exact same items as were claimed by the Che alier’s in




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  the fire at 1049 Nederland Avenue, Port Art ur, Texas and by Bronnon and herself

  related to a theft claim at 13118 Worthington Street, Sugarland, Texas.

     5. Farmers mailed Calcote three checks between March 31, 2014 and April 28, 2014,

  totaling $173,536.47 based on this fraudulent claim.

         On or about the following dates, in the Eastern District of Texas and elsewhere,

  Helene Williams Calcote and Patrick Wayne Bronnon, defendants, with the intent to

  defraud, devised the above-described scheme and artifice to defraud and obtain money by

  materially false and fraudulent pretenses, representations, and promises for the purpose of

  executing or attempting to execute the above-described scheme and artifice to defraud

  and deprive, the defendants knowingly caused to be placed in an authorized depository

  for mail, to be sent and delivered by United States Postal Service or a private or

  commercial interstate mail carrier, according to the direction thereon or at the place at

  which it is directed to be delivered by the person to whom it is addressed, the following

  matters:


   Count Del'endant(s)                  Date of     Item           Insurance     Insured Property
                                        Mailing     Mailed         Company
                                        (on or
                                        about)
   15        Helene Williams Calcote : March        Check for      Farmers      4675 Beaumont
             Patrick Wayne Bronnon     31,2014      $1,250                      Drive, Beaumont,
                                                                                Texas
   16        Helene Williams Calcote    April 10, Check for        Farmers      4675 Beaumont
             Patrick Wayne Bronnon      2014        $150,000                    Drive, Beaumont,
                                                                                Texas




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   17       Helene Williams Calcote    April 28, Check for         Farmers     4675 Beaumont
            Patrick Wayne Bronnon      2014           $22,285.67               Drive, Beaumont,
                                                                               Te as



         All in violation of 18 U.S.C. § 1341.

                            Counts Eighteen through Nineteen

                                                           Violation: 18 U.S.C. § 1341 (Mail
                                                           Fraud)

         Counts Eighteen throug out Nineteen incorporates by reference the Scheme,

  Object, and Manner and Means described in Count One of the Indictment.

                                        The Scheme

                             1010 9th Street, Port Arthur, Texas

            1. Etienne purchasedlOlO 9th Street, Port Arthur, Texas on October 3, 2015

  for approximately $70,000. Etienne purchased homeowners insurance through Homesite

  Insurance Company (Homesite) on October 6, 2015.

            2. On October 17, 2015, a fire was reported at the residence at approximately

  10:30 p.m. and the Port Arthur Fire Department (PAFD) responded. Etienne informed

  the fire department that he recently purchased the home and was in the process of

  remodeling it to make it suitable for living. Etienne told PAFD that he planned to live on

  first floor of the home and co-defendant Lewis was to rent the second floor. PAFD spoke

  to Lewis, who told them that she was cooking chicken on a hotplate in the bedroom and




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 left the home just prior to the fire starting, suggesting that the she may have inadvertently

 set the fire with the hotplate.

            3. However, as Lewis was aware, the fire was not caused by the hotplate, but


 started in the bedroom by Bronnon. Lewis was not in the room at the time the fire was

 started, but saw Bronnon and Reed hurriedly leaving the bedroom and she exited the

 residence with them.

            4. Homesite mailed Etienne a check on December 19, 2015 for $202,168.66

 and another check on Febmary 17, 2016 for $29,562.80, for a total of $231,731.48.

            5. On or about the following dates, in the Eastern District of Te as and

  elsewhere, Glenn Dell Etienne, Patrick Wayne Bronnon, and Keisha Windon Lewis,

  defendants, with the intent to defraud, devised the above-described scheme and artifice to

  defraud and obtain money by materially false and fraudulent pretenses, representations,

  and promises for the purpose of executing or attempting to execute the above-described


  scheme and artifice to defraud and deprive, the defendants knowingly caused to be placed

  in an authorized depository for mail, to be sent and delivered by United States Postal

  Service or a private or commercial interstate mail carrier, according to the direction


  thereon or at the place at which it is directed to be delivered by the person to whom it is

  addressed, the following matters:

   Count Defendant(s)                   Date of Item                Insurance Insured Property
                                        Mailing Mailed              Company
                                        (on or
                                         about)
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   18      Glenn Dell Etienne         December       Check for     Homesite   1010 9th Street,
           Patrick Wayne Bronnon       19,2015       $202,168.66              Port Arthur,
           Keisha Windon Lewis                                                Texas
   19      Glenn Dell Etienne         February Check for           Homesite   1010 9th Street,
           Patrick Wayne Bronnon       17, 2016 $29,562.80                    Port Arthur,
           Keisha Windon Lewis                                                Texas



        All in violation of 18 U.S.C. § 1341.

                        Counts Twenty throughout Twenty-Two

                                                          Violation: 18 U.S.C. § 1341 (Mail
                                                          Fraud)

        Counts Twenty throughout Twenty Two incorporates by reference the Scheme,

  Object, and Manner and Means described in Count One of the Indictment.

                                        The Scheme

                         1049 Nederland Ave., Port Arthur. Texas


     1. N. Chevalier and K. Chevalier purchased 1049 Nederland Ave., Port Arthur,

  Texas on or about March 11, 2016. N. Chevalier became aware of the house when a


  member of his church, co-defendant Etienne, approached him about purchasing it.

  Etienne provided N. Chevalier with $5,000 for the down payment, and the remaining

  approximately $20,000 was financed by the seller.

     2. On or about March 18, 2013, N. Chevalier purchased insurance for the home from


  Farmers Insurance (Farmers). The policy covered, among other things, damage to or loss

  of the home caused by fire, including contents and ALE.



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     3. On or about March 24, 2013 six days after the home was purchased - the home

  sustained significant damage as a result of a fire. N. Chevalier reported the fire to

  Farmers the same day, but, as he was aware at the time, the fire was intentionally started


  by Bronnon for the purpose of collecting insurance proceeds. On or about May 20,

  2016, N. Chevalier and K. Chevalier submitted an itemized list of contents of their

  home that they claimed were lost in the fire. The list, however, was provided to the

  Chevaliers by Etienne and, as they were both aware, were not contents of their home.


  On or about May 20, 2013, N. Chevalier and K. Chevalier submitted a signed and

  notarized Proof of Loss to Farmers. In it, they attested that the fire did not originate

  or continue by any act, design, procurement or willful neglect on the part of the insured,”

  which they both knew to be false at the time they signed the document.

     4. As a result of this fraudulent claim, Famers mailed three checks to the Chevaliers

  or their designees, totaling $138,800 and conducted five electronic funds transfers

  totaling $60,960.83, for a combined total of $199,760.83. The e cess proceeds were

  divided among the Chevaliers, Etienne and Bronnon.

     On or about the following dates, in the Eastern District of Texas and elsewhere,

  Nathaniel Joseph Chevalier, Kendra Chevalier, Patrick Wayne Bronnon, and Glenn

  Dell Etienne, defendants, with the intent to defraud, devised the above-described scheme

  and artifice to defraud and obtain money by materially false and fraudulent pretenses,

  representations, and promises for the purpose of executing or attempting to execute the


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  above-described scheme and artifice to defraud and deprive, the defendants knowingly

 caused to be placed in an authorized depository for mail, to be sent and delivered by

 United States Postal Service or a private or commercial interstate mail carrier, according

 to the direction thereon or at the place at which it is directed to be delivered by the person

 to whom it is addressed, the following matters:

   Count Defendant(s)                   Date of       Item          Insurance Insured Property
                                        Mailin        Mailed        Company
                                        (on or
                                      about)
   20      Nathaniel Joseph Chevalier April 14, Check for           Farmers      1049 Nederland
           Kendra Chevalier             2016          $800                       Ave., Port Arthur,
           Patrick W ayne Bronnon                                                Texas
           Glenn Dell Etienne

   21      Nathaniel Joseph Chevalier May 2,          Check for     Farmers      1049 Nederland
           Kendra Chevalier           2016            $19,166.67                 Ave., Port Arthur,
           Patrick Wayne Bronnon                                                 Texas
           Glenn Dell Etienne

   22      Nathaniel Joseph Chevalier : May 3,        Check for     Farmers      1049 Nederland
           Kendra Chevalier             2016          $118,833.33                Ave., Port Arthur,
           Patrick Wayne Bronnon                                                 Texas
           Glenn Dell Etienne



        All in violation of 18 U.S.C. § 1341.

                       Counts Twenty-three through Twenty-se en

                                                             Violation: 18 U.S.C. § 1341 (Mail
                                                             Fraud)

         Counts Twenty-three through Twenty-seven incorporates by reference the


  Scheme, Object, and Manner and Means described in Count One of the Indictment.

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                                          The Scheme

                           2722 Hampton Court, Port Neelies. Texas


             1. On or about June 3, 2016, Lewis purchased t e home at 2722 Hampton

  Court, Port Neches, Texas for $92,500, with a down payment of $3,000. Shortly after

  purchasing the home, Lewis purchased insurance for the home through Allstate. The

  money used for the down payment and the initial insurance payment was provided to

  Lewis by Bronnon.

            2. On or about June 13, 2016, Bronnon intentionally started a fire at the

  residence and instructed Lewis to file contact Allstate and file a claim. Lewis was aware

  that Bronnon intentionally started the fire at the time she filed the claim.

            3. Between July 1, 2016 and March 28, 2017, Allstate mailed eight checks to

  Lewis or others on her behalf, for a total of approximately $200,294.

            4. On or about the following dates, in the Eastern District of Texas and

  elsewhere, Patrick Wayne Bronnon and Keisha Windon Lewis, defendants, with the

  intent to defraud, devised the above-described scheme and artifice to defraud and obtain

  money by materially false and fraudulent pretenses, representations, and promises for the

  purpose of executing or attempting to execute the above-described scheme and artifice to

  defraud and deprive, the defendants knowingly caused to be placed in an authorized

  depository for mail, to be sent and delivered by United States Postal Service or a private

  or commercial interstate mail carrier, according to the direction thereon or at the place at


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 which it is directed to be delivered by the person to whom it is addressed, the following

 matters:


  Count Defendant(s)                   Date of        Item          Insurance Insured Property
                                       Mailing        Mailed        Company
                                       (on or
                                       about)
   23 V     Patrick Wayne Bronnon      July 1,        Check for     Allstate    2722 Hampton
            Keisha Windon Lewis        2016            $180,000                 Court, Port
                                                                                Neches, Texas
   24       Patrick Wayne Bronnon      July 5,         Check for    Allstate    2722 Hampton
            Keisha Windon Lewis        2016            $5,807.50                Court,Port
                                                                                Neches, Texas
   25       Patrick Wayne Bronnon     , July 22,       Check for    Allstate    2722 Hampton
            Keish Windon Lewis i12016                 i $1,386                  Court, Port
                                                                                Neches, Texas
   26       Patrick Wayne Bronnon      October         Check for    Allstate    2722 Hampton
            Keisha Windon Lewis        10, 2016        $3,713                    Court,Port
                                                                                Neches, Texas
   27       Patrick Wayne Bronnon      March           Check for    Allstate     2722 Hampton
            Keisha Windon Lewis        28, 2017        $4,585                    Court, Port
                                                                                 Neches, Texas


        All in violation of 18 U.S.C. § 1341.

                           Counts Twenty-Eight through Thirty

                                                             Violation: 18 U.S.C. § 1341 (Mail
                                                             Fraud)

        Counts Twenty-Eight through Thirty incorporates by reference the Scheme,

  Object, and Manner and Means described in Count One of the Indictment.

                                        The Scheme

                            4690 Dallas Street. Beaumont. Texas



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             1. On or about Octo er 5, 2016, Wallace purchased the home at 4690 Dallas

  Street, Beaumont, Texas for $59,900, with a down payment of $5,000. On October 4,

  2016, Wallace purchased insurance for the home through Wellington Insurance Group

  (Wellington). The policy covered up to $173,280 for the structure, $86,640 for the

  contents, and $17,328 for ALE. When Wallace completed the insurance application, he

  listed Etienne as an emergency contact person.


             2. On or about October 14, 2016, Wallace was contacted by the Beaumont

  Fire Department (BFD), who informed him that his home was on fire. BFD e tinguished

  the fire and Wallace contacted Wellington to report the loss. BFD determined that the

  fire originated in the electrical box.

             3. Prior to the fire, Wallace, Bronnon and Etienne discussed a plan to insure

 the home and bum it for insurance proceeds, but Wallace was unaware of how or when


 the fire would occur. Flowever, on or about December 16, 2016, Wallace signed a Proof

  of Loss in which he attested that the loss “did not originate by any act, design,

 procurement, or willful neglect on the part of the undersigned insured,” which he knew to

 be untrue at the time he signed it. On or about November 21, 2016, Wallace participated

 in an “Examination Under Oath,” where he answered questions about the fire from an


  atto ey representing Wellington. Etienne accompanied Wallace to give this statement

  and was present in the room during the questioning.




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            4. At the time of the fire, Wallace was living with his girlfriend in Port

 Arthur, but was encouraged by Etienne to sign a fake apartment lease so that he could

 collect ALE payments. On or about February 16, 2017, Wallace provided Wellington

 with a copy of a signed lease for an apartment in Nederland, Texas.

            5. Between November 14, 2016 and February 22, 2018, Wallace was mailed

 three checks based on his fraudulent claim, totaling $132,805.09.

            6. On or about the following dates, in the Eastern District of Texas and

  elsewhere, Rodric Ledae Wallace, Patrick Wayne Bronnon, and Glenn Dell Etienne,

  defendants, with the intent to defraud, devised the above-described scheme and artifice to

  defraud and obtain money by materially false and fraudulent pretenses, representations,

  and promises for the purpose of executing or attempting to execute the above-described


  scheme and artifice to defraud and deprive, the defendants knowingly caused to be placed

  in an authorized depository for mail, to be sent and delivered by United States Postal

  Service or a private or commercial interstate mail carrier, according to the direction


  thereon or at the place at which it is directed to be delivered by the person to whom it is

  addressed, the following matters:

   Count Defendant(s)                   Date of       Item          Insurance Insured Property
                                        Mailing       Mailed        Company
                                        (on or
                                        about)
   28       Rodric Ledae Wallace i December           Check for     Wellington j 4690 Dallas
           i Patrick Wayne Bronnon 22,2016            $109,305.09                Street, Beaumont,
            Glenn Dell Etienne                                                   Texas


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   29      Rodric Ledae Wallace       November       Check for     Wellington   4690 Dallas
           Patrick Wayne Bronnon       14,2016       $1,000                     Street, Beaumont,
           Glenn Dell Etienne                                                   Texas
   30      Rodric Ledae Wallace       February Check for           Wellington   4690 Dallas
           Patrick Wayne Bronnon      22,2018        $22,500                    Street, Beaumont,
           Glenn Dell Etienne                                                   Texas


        All in violation of 18 U.S.C. § 1341.

                         Counts Thirty-One through Thirty-Six

                                                          Violation: 18 U.S.C. § 1341 (Mail
                                                          Fraud)

        Counts Thirty-One - Thirty-Six incorporates by reference the Scheme, Object, and

  Manner and Means described in Count One of the Indictment.

                                        The Scheme

                                     2008 H2 Hummer

     1. On or about November 6, 2014, Calcote purchased a 2008 H2 Hummer, which

  was insured by Pronto General Agency, Ltd. (Pronto). On or about March 2, 2016, Reed

  and Lewis claimed the vehicle was in an accident.

     2. Reed told Pronto that he was driving eastbound on Highway 73 near Port Arthur,

  driving his 1990 Lincoln Town Car, and attempted to switch lanes. He claimed that the

  H2 Hummer was in his blind spot and he collided with the H2 Hummer, which pushed

 the H2 Hummer off the road, causing it to collide with a sign. Lewis told Pronto that she

  was driving the H2 Hummer.




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     3. However, as Reed and Lewis were both aware, Bronnon was actually driving the

 H2 Hummer and t e two vehicles did not collide. Instead, Bronnon intentionally drove

 the H2 Hummer off the road and into a sign to damage the vehicle so that he could make

  a fraudulent insurance claim. Earlier in the day on March 2, 2016, Reed and Bronnon

  intentionally caused a minor collision between the H2 Hummer and Lincoln in order to

 have physical evidence (e.g. damage to the Lincoln and the exchange of body paint) to

  show Pronto that the two cars did collide, as they intended to tell Pronto.

     4. Between March 22, 2016 and May 19, 2016, Pronto mailed six checks as a result

  of this fraudulent claim, and paid a total of approximately $25,407.

     5. On or about the following dates, in the Eastern District of Texas and elsewhere,

  Patrick Wayne Bronnon, Keisha Windon Lewis, and Riley Moss Reed, defendants,

  with the intent to defraud, devised the above-described scheme and artifice to defraud and

  obtain money by materially false and fraudulent pretenses, representations, and promises

  for the purpose of executing or attempting to execute the above-described scheme and


  artifice to defraud and deprive, the defendants knowingly caused to be placed in an

  authorized depository for mail, to be sent and delivered by United States Postal Service

  or a private or commercial interstate mail carrier, according to the direction thereon or at


  the place at which it is directed to be delivered by the person to whom it is addressed, the

  following matters:

   Cou t Dcfeiulant(s)                   Date of    Item            Insurance Insure        ro erty
                                         Mailing       ailed        Com an

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   31          Patrick Wayne Bronnon      March          Check for     Pronto      H2 Hu mer
              Keisha Windon Lewis          18,2016       $1,375
              Riley Moss Reed
   32          Patrick Wayne Bronnon      March          Check for     Pronto      H2 Hummer
              Keisha Windon Lewis          19, 2016      $184.80
              Riley Moss Reed
   33          Pat ick Wayne Bronnon      March          Check for     Pronto      H2. Hummer
               Keisha Windon Lewis         19,2016       $275:
               Riley Moss Reed
   34          Patrick Wayne Bronnon      March          Check for     Pronto      H2 Hummer
              Keisha Windon Le is          19, 2016      $402.60
              Riley Moss Reed
   35          Patrick Wayne Bronnon      March          Check for     Pronto      H2 Hummer
               Keisha Windon Lewis         19, 2016      $310
               Riley Moss Reed
   36          Patrick Wayne Bronnon      March          Check for     Pronto      H2 Hummer
              Keisha Windon Lewis         22, 2016       $22,860
              Riley Moss Reed

            All in violation of 18 U.S.C. § 1341.

                                       Count Thirty-Seven

                                                         Violation: 18 U.S.C. § 844(h)
                                                         (Use of Fire i Commission of a Felony)

            On or about October 28, 2014, in the Eastern District of Texas, Patrick Wayne

  Bronnon and Geraldine Weldon Joseph, defendants, knowingly used fire to commit a

  violation of 18 U.S.C. § 1341 (Mail Fraud), a felony prosecutable in a court of the United

  States.

            In violation of 18 U.S.C. §§ 844(h) and 2.

                                        Count Thirty-Eight

                                                         Violation: 18 U.S.C. § 844(h)

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                                                      (Use of Fire in Commission of a Felony)

            On or about March 16, 2014, in the Eastern District of Texas, Patrick Wayne

 Bronnon and Helene Williams Calcote, defendants, knowingly used fire to commit a

 violation of 18 U.S.C. § 1341 (Mail Fraud), a felony prosecutable in a court of the United

  States.


            In violation of 18 U.S.C. §§ 844(h) and 2.

                                        Count Thirty-Nine

                                                      Violation: 18 U.S.C. § 844(h)
                                                      (Use of Fire in Commission of a Felony)

            On or about June 13, 2016, in the Easte District of Te as, Patrick Wayne

 Bronnon and Keisha Windon Lewis defendants, knowingly used fire to commit a

 violation of 18 U.S.C. § 1341 (Mail Fraud), a felony prosecutable in a court of the United

  States.


            In violation of 18 U.S.C. §§ 844(h) and 2.

                                           Count Forty

                                                      Violation: 18 U.S.C. § 844(h)
                                                      (Use of Fire in Commission of a Felony)

            On or about October 14, 2016, in the Eastern District of Texas, Patrick Wayne

  Bronnon, Glenn Dell Etienne and Rodric Ledae Wallace, defendants, knowingly used

  fire to commit a violation of 18 U.S.C. § 1341 (Mail Fraud), a felony prosecutable in a

  court of the United States.


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         In violation of 18 U.S.C. §§ 844(h) and 2.

             NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

        Pursuant to 8 U.S.C. § 982( )(T), § 981(a¥n(c) and (Tj) & 28 USC § 2461

        Upon conviction of one or more of the offenses alleged in Counts One through

  Forty of this indictment, defendants Patrick Wayne Bronnon (Bronnon), Glenn Dell

  Etienne (Etienne), Geraldine Weldon Joseph (Joseph), Morris Broussard, aka Bruiser

  (Broussard), Keisha Windon Lewis (Lewis), Helene Williams Calcote (Calcote), Cynthia

  Lynn Banion (Banion), Earnest Hamilton (Hamilton), Nathaniel Joseph Chevalier (N.

  Chevalier), Kendra Chevalier (K. Chevalier), Rodric Ledae Wallace (Wallace), and Riley

 Moss Reed (Reed), shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(7), §

  981(a)(1)(c) and (G) & 28 USC § 2461, any property constituting or derived from

 proceeds obtained directly or indirectly as a result of the said violations, including but not

 limited to the following:

                   a. a 40.46 acre tract of land, located at:
                      716 County Road 36
                      Angleton, Te as
                      Brazoria County

                  b. a white 2017 Nissan Maxima, YIN 1N4AA6AP8HC453766

                   c. a silver 2004 Mercedes-Benz SL500 Convertible, YIN
                      WDBSK75F64F084576

                   d. a silver 2012 Mercedes-Benz E350; YIN WDDHF5KB2CA522047

        A. Money Judgment


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        A sum of money in United States currency representing the amount of proceeds

  obtained as a result of the offense described in Counts One through Forty of this

  information, in violation of 18 U.S.C. §§ 1341, 1349 and 844(h). The loss foreseeable to

  each defendant is as follows:

                   a. Patrick Wayne Bronnon: $1,732,159.66

                   b. Glenn Dell Etienne: $564,297.40

                   c. Geraldine Weldon Joseph: $636,041.26

                   d. Morris Broussard: $132,584

                   e. Keisha Windon Lewis: $457,432.48

                   f. Helene Williams Calcote: $173,536

                   g. Cynthia Lynn Banion: $ 132,584

                   h. Earnest Hamilton: $105,824

                   i. Nathaniel Joseph Chevalier: $199,760.83

                  j. Kendra Chevalier: $199,760.83

                   k. Rodric Ledae Wallace: $132,805.09

                   l. Riley Moss Reed: $25,407

        B. Substitute Assets

        If any of the above-described forfeitable property, as a result of any act or

 omission of the defendants:

        (a) cannot be located upon the exercise of due diligence;


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         (b) has been transferred or sold to, or deposited with, a third party;

         (c) has been placed beyond the jurisdiction of the court;

         (d) has been substantially diminished in value; or

         (e) has been commingled with other property which cannot be divided without

  difficulty; it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as

  incorporated by 18 U.S.C. § 982(b), to seek forfeiture of any other property of said

  defendant up to the value of the forfeitable property described above.

         By virtue of the commission of the offenses alleged in Counts One through Forty

  of this indictment, any and all interest the defendants have in the above-described

 property is vested in the United States and hereby forfeited to the United States pursuant

 to 8 U.S.C. § 982(a)(7), § 981(a)(1)(c) and (G) & 28 USC § 2461.



                                                     A TRUE BILL



                                                     GRAND JURY FOREPERSON

 JOSEPH D. BROWN
 U ITED STATES ATTORNEY



  CHRISTOPHER TORTORIGE
 ASSISTANT U.S. ATTORNEY




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA §
                                             §
 y. § CRIMINAL NO. 1:18-CR-
                                             §
 PATRICK WAYNE BRONNON (1) §
 GLENN DELL ETIENNE (2) §
 GERALDINE WELDON JOSEPH (3) §
 MORRIS BROUS SARD §
        aka      Bruiser           (4) §
 KEISHA WINDON LEWIS (5) §
 HELENE WILLIAMS CALCOTE (6) §
 CYNTHIA LYNN BANION (7) §
 EAR EST HAMILTON (8) §
 NATHANIEL JOSEPH CHEVALIER (9) §
 KENDRA CHEVALIER (10) §
 RODRIC LEDAE WALLACE (11) §
 RILEY MOSS REED (12) §
                                NOTICE OF PENALTY

                                       Count One

 Violation: 18 U.S.C. § 1349 (Conspiracy to Commit Mail Fraud)

 Penalty: Imprisonment of not more than twenty (20) years; a fine not to
                  exceed $250,000.00 or twice the pecuniary gain to the defendant or
                     loss to the victim, or both. A term of supervised release of not more
                     than three (3) years.

  Special Assessment: $100.00

                                Counts Two - Thirty-Si


  Violation: 18 U.S.C. § 1341 (Mail Fraud)

  Penalty: Imprisonment of not more than twenty (20) years; a fine not to
                   exceed $250,000.00 or twice the pecuniary gain to the defendant or
                     loss to the victim, or both. A term of supervised release of not more
                     than three (3) years.



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  Special Assessment: $100.00

                                Counts Thirty-Seven - Fort


  Violation:         18 U.S.C. § 844(h) (Use of Fire in Commission of a Felony)

  Penalty:           Imprisonment for a term of 10 years; a fine not to exceed
                     $250,000.00 or twice the pecuniary gain to the defendant or loss to
                     the victim; or both; and supervised release of not more than three (3)
                     years.


                     If, however, it is shown that the defendant has a second or
                     subsequent conviction for violation of 18 U.S.C. § 844(h),
                     imprisonment for a term of twenty (20) years.

                     Any term of imprisonment imposed under 18 U.S.C. § 844(h) must
                     run consecutively to any other term of imprisonment.



  Special Assessment: $100




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